Case 22-33462 Documenté6 Filed in TXSB on 11/21/22 Page 1 of 3

LO al -Yel. @-Ceel| cover Le
According to the calculations required by this

  

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Debtor 1 Timothy Luke George Statement:

First Name Middle Name Last Name Qh. Disposable income is not determined
Debtor 2 under 11 U.S.C. § 1325(b)(3).
(Spouse, if filing) First Name Middle Name Last Name Mo. Disposable income is determined

under 11 U.S.C. § 1325(b)(3).

 

United States Bankruptcy Court for the: Southern District of Texas
L13. The commitment period is 3 years.

Case number
4. The commitment period is 5 years.

(if known)

 

 

LI check if this is an amended filing

Official Form 122C-1

Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period 10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known).

EXER calcutate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
QO Not married. Fill out Column A, lines 2-11.
Wi married. Fill out both Columns A and B, lines 2-11.

 

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
$0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all $11,103.33 $1,450.00
payroll deductions).

 

3. Alimony and maintenance payments. Do not include payments from a spouse. $0.00 $0.00

 

4. All amounts from any source which are regularly paid for household expenses of you or
your dependents, including child support. Include regular contributions from an
unmarried partner, members of your household, your dependents, parents, and
roommates. Do not include payments from a spouse. Do not include payments you listed

 

 

on line 3. $0.00 $0.00
5. Net income from operating a business, profession, or

farm Debtor 1 Debtor 2

Gross receipts (before all deductions) __ $0.00 __ 50.00

Ordinary and necessary operating expenses - __ $0.00 . __ 80.00

Net monthly income from a business, profession, or farm $0.00 $0.00 roPy $0.00 $0.00
6. Net income from rental and other real property Debtor 1 Debtor 2

Gross receipts (before all deductions) __ $0.00 __ $0.00

Ordinary and necessary operating expenses - __ $0.00 . __ 80.00

Net monthly income from rental or other real property $0.00 $0.00 roPy $0.00 $0.00

 

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 1
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Debtor 1 Timothy Luke George Case number (if known)
First Name Middle Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-tfiling spouse
7. Interest, dividends, and royalties $0.00 $0.00
8. Unemployment compensation $0.00 $0.00
Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. Instead, list it here: «2.0.2... eee eeeeeeeeeeeeeeeeeeeeeerenees 1
FOP YOU... .eeceeseeeceeseeeeeeneeceeeeeseeeeeeeeeeseeeeeeeeseaneeestasneeesanneereateaes $0.00
FOr YOUF SDOUSC............ecsceseecseeceeeeeeeeeeeeeeeeeeaeeaeeaeeeseeeeseetsesenes $0.00
9. Pension or retirement income. Do not include any amount received that was a benefit $0.00 $0.00

under the Social Security Act. Also, except as stated in the next sentence, do not
include any compensation, pension, pay, annuity, or allowance paid by the United
States Government in connection with a disability, combat-related injury or disability, or
death of a member of the uniformed services. If you received any retired pay paid
under chapter 61 of title 10, then include that pay only to the extent that it does not
exceed the amount of retired pay to which you would otherwise be entitled if retired
under any provision of title 10 other than chapter 61 of that title.

10. Income from all other sources not listed above. Specify the source and amount. Do
not include any benefits received under the Social Security Act; payments received as
a victim of a war crime, a crime against humanity, or international or domestic
terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
States Government in connection with a disability, combat-related injury or disability, or
death of a member of the uniformed services. If necessary, list other sources on a
separate page and put the total below.

Bonus from Sales $500.00 $0.00

 

 

Total amounts from separate pages, if any. +— +
11. Calculate your total average monthly income. Add lines 2 through 10 for each __ $11,603.33 * __$1,450.00
column. Then add the total for Column A to the total for Column B.

ara Determine How to Measure Your Deductions from Income

 

$13,053.33

 

 

 

Total average
monthly income

 

12. Copy your total average monthly income from line 11. 0.0.00... eee eene seen nene see seseeeneeeseeneeseeaeeneesena

13. Calculate the marital adjustment. Check one:

.) You are not married. Fill in 0 below.
L] You are married and your spouse is filing with you. Fill in 0 below.
WiYou are married and your spouse is not filing with you.

Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or
your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or your
dependents.

Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list
additional adjustments on a separate page.

If this adjustment does not apply, enter 0 below.

 

 

 

$0.00 .

TO tal... cece cee eee cs neces econ nee nese seceesaeseveesnesedaeasonsevaednesaesaeseneeneaneea ——__——_ Copy here. —

14. Your current monthly income. Subtract the total in line 13 from line 12.

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period

$13,053.33

$0.00

$13,053.33

page 2
Case 22-33462 Document 6 Filed in TXSB on 11/21/22 Page 3 of 3

 

Debtor 1 Timothy Luke George Case number (if known)
First Name Middle Name Last Name
15. Calculate your current monthly income for the year. Follow these steps:
15a. Copy line 14 Mere on... cece cececceceeeeeseeceeeeeceeeseeceeseesaeseeessaesessessesaesaceassas eases saeageessanseasesaesaesaesaesaeeeeaeesaesseesseeseeseseenaesaesneeaseeeaes $13,053.33
Multiply line 15a by 12 (the number of months in a year). x 12
15b. The result is your current monthly income for the year for this part of the fOrmM.............c cee see cee n eeeeeneenteneeseeneeeennenaeeneee __ $156,639.96
16. Calculate the median family income that applies to you. Follow these steps:
16a. Fill in the state in which you live. Texas
16b. Fill in the number of people in your household. 3
16c. Fill in the median family income for your state and size of HOUSEhOI. ........... eee eeeeeeesseeeeeseeeeeeeceneeseceateeeeenseeeseeeneeesesneeeeennees $80,765.00

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?
17a. LI Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11
U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Cafculation of Your Disposable Income (Official Form 122C—2).

17b. Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C—2). On line 39 of that form, copy your
current monthly income from line 14 above.

EEA calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)

18. Copy your total average monthly income from line 11. «0.00... eens e ee renee seen ne sneeneeneeaeorsosneasonneneesoenennesaewaeseea $13,053.33

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy the

amount from line 13.

19a. If the marital adjustment does not apply, fill In 0 ON TING 192... ee esseeesseeeeeseereneceneeneessseneeseneesseesoenecssaearseenesesaneeesesasanarsetes = $0.00
19b. Subtract line 19a from line 18. $13,053.33

20. Calculate your current monthly income for the year. Follow these steps.

 

 

 

 

20a. Copy line 19D... eee ceseeseceeceeecseseseeseseeeeesenesceeansesansesasaeseesseeaeessenaesesasesacaesenessesaeaesensesaeasaeeaesesaeaesesaeseeeseenaeasecseeenessenenessasaeaeeas $13,053.33
Multiply by 12 (the number of months in a year). x 12

20b. The result is your current monthly income for the year for this part of the form. __ $156,639.96

20c. Copy the median family income for your state and size of household from line 166... cee cee eee ence seecenesneweeeneeaneee ___ $80,765.00

21. How do the lines compare?

LI Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
The commitment period is 3 years. Go to Part 4.
Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
check box 4, The commitment period is 5 years. Go to Part 4.

aa Sign Below

By signing here, under penalty of perjury | declare that the information on this statement and in any attachments is true and correct.
= a a
Xx TFPMO T Hl GFOORGE

Signature of Debtor 1

 

 

Date 11/15/2022
MM/ DD/ YYYY

If you checked 17a, do NOT fill out or file Form 122C—2.
If you checked 17b, fill out Form 122C—2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 3
